         Case 2:20-cr-00033-JAD-VCF Document 19 Filed 07/31/20 Page 1 of 1




 1                              UNITED STATES DISTRICT COURT

 2                                   DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                            Case No. 2:20-cr-00033-JAD-VCF
 4
                   Plaintiff,                             ORDER
 5
            v.                                                   ECF No. 18
 6
     OBETH JOSUE ORGANIZ,
 7
                   Defendant.
 8
 9
10
            IT IS HEREBY ORDERED, based upon the stipulation between the United States and
11
     defendant’s counsel, and for good cause shown, that the Petition for Revocation of Supervised
12
     Release be dismissed and the revocation hearing previously scheduled for August 4, 2020 at
13
     2:00 pm, be vacated.
14
            DATED this 31st day of July, 2020.
15
16                                               UNITED STATES DISTRICT JUDGE
17
18
19
20
21
22
23
24
25
26
                                                    3
